Case No. 1:08-cv-01748-ZLW-BNB Document 1-2 filed 08/15/08 USDC Colorado pg1iofi

Court Nawe: U.S, District Court, Colorad

a
Division: 1

Receipt Husber: COX@{2228
Cashier Ip: 5

Transaction Date: 88/18/2086
Payer Naae: GORDON HEUSER

CIVIL FILING FEE
For: GGRDON HEUSER
Amounts $358.86

CREDIT CARD
Amt Tendered: $358.98

Total Due: $358, 58
Total Tendered: $356.68
Change Amt: $0.08

B8-CV-1748

fi fee of $45.88 will be assessed on
any returned check,

